                IN THE UNITED STATES DISTRICT COURT FOR THE
                        MIDDLE DISTRICT OF TENNESSEE
                           NORTHEASTERN DIVISION

UNITED STATES OF AMERICA                            )
                                                    )
                                                    )
v.                                                  )      Criminal No. 2:11-00002
                                                    )      Judge Trauger
[1] SPIKE WILLIAM HEDGECOTH                         )

                                          ORDER

       A status conference was held in this case on January 9, 2014. This case is not yet ready

for sentencing. It is therefore ORDERED that another status conference shall be held on

February 21, 2014 at 10:00 a.m.

       It is so ORDERED.

       ENTER this 10th day of January 2014.



                                                    ________________________________
                                                          ALETA A. TRAUGER
                                                            U.S. District Judge




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